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Acts of the General Assembly of Her Majesty's Province of New-Brunswick passed in the year
1860. Fredericton, NB: John Simpson, Printer to the Queen’s Most Excellent Majesty, 1860.

23 Victoria – Chapter 63 (1859)

An Act to establish the University of New Brunswick. Passed 13th April 1859.

 Section.                                         Section.
  1. Charter of King's College in part, and        13. Meetings of the Board.
      Acts 8 V. c. 111, and 9 V. c. 74, repealed.  14. Minutes.
  2. The University of New Brunswick               15. Religious instructors of Students.
      incorporated.                                16. Religious exercises.
  3. Estate of King's College vested in the        17. Admission of Candidates for Degrees
      University: Graduates.                           from other Institutions.
  4. Of whom the new Corporation shall             18. Admission to Lectures.
      consist; quorum.                             19. Certain rights to gratuitous instruction
  5. Members of Corporation to constitute              granted.
      the Senate.                                  20. Right to found Scholarships, &c.
  6. Lieutenant Governor to be Visitor, with       21. Programme of courses of instruction.
      power to act by Commission.                  22. With whom Students shall board.
  7. No Professorship of Theology, and no          23. Right of Scholars in Collegiate Schools to
      Religious text.                                  attend lectures.
  8. Plenary and special powers of the Senate.     24, 25. Scholarships established.
  9. Duty of the President.                        26. Annual Accounts and Report for the
  10. Discipline, enforcement in absence of            House of Assembly.
      President.                                   27. Suspending clause.
  11. University Board constituted.                    Schedules.
  12. Acts of Board to be approved by the
      President.

Whereas the Charter and Acts relative to King’s College at Fredericton, have not been found
adequate for the purposes intended: And whereas it is expedient to make provision for a
comprehensive system of University Education, such as will embrace not only the usual subjects of
a Collegiate course, but also those branches of practical science and art which are adapted to the
agricultural, commercial, and mechanical pursuits of the great body of the inhabitants of New
Brunswick;—

Be it therefore enacted by the Lieutenant Governor, Legislative Council, and Assembly, as
follows:—

1. That so much of the Charter for the Incorporation of the Chancellor, President, and Scholars
of King’s College, at Fredericton, in the Province of New Brunswick, under Letters Patent bearing
date the fifteenth day of December, in the eighth year of the Reign of His late Majesty King George
the Fourth, as is inconsistent with the provisions of this Act; and also an Act made and passed in

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                                                                                               EXHIBIT 1
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the eighth year of the Reign of Her present Majesty, intituled An Act to amend the Charter of
King's College; and also an Act made and passed in the ninth year of the Reign of Her present
Majesty, intituled An Act to amend an Act intituled ‘An Act to amend the Charier of King's College,'
be and the same are hereby repealed.

2. There shall be a University, which shall be a body corporate, by the name and style of ‘The
University of New Brunswick,’ and shall have a common Seal, with power from time to time to
alter, renew and change the same as may be found convenient; and that by the same name the
said University and their successors, from time to time and at all times hereafter, shall be able and
capable to have, take, and receive, purchase, acquire, hold, possess, enjoy, and maintain, to and
for the use of the said University, any messuages, lands, tenements, and hereditaments, of what
nature, kind, or quality soever; and moreover to take, purchase, acquire, have, hold, enjoy,
receive, possess, and retain, all or any goods, chattels, charitable or other contributions, gifts or
benefactions whatsoever; and the said University, and their successors by the same name, shall
and may be able and capable in law to sue and be sued, implead and be impleaded, answer and
be answered, in all or any Courts of Record, in all and singular actions, causes, pleas, suits, matters
and demands whatsoever, in as large, ample and beneficial a manner and form as any other body
politic and corporate, or any other person able and capable in law, may or can sue, implead, or
answer, or be sued, impleaded, or answered, in any manner whatsoever.

3. All the real and personal estate, rights, easements, privileges, and immunities of every nature
or kind whatsoever, now vested in or belonging to “The Chancellor, President, and Scholars of
King’s College, at Fredericton, in the Province of ¡New Brunswick,” shall be and they are hereby
vested in the University of New Brunswick; and all leases and contracts whatsoever made by or
with the Chancellor, President, and Scholars of King’s College, shall be dealt with in all respects as if
the same had been made by and with the University of New Brunswick; and all debts, rents,
interest, or moneys due or to grow due thereon, shall be henceforth payable to and recoverable
by the University of New Brunswick; and all covenants, contracts, or agreements, made with or
entered into by the said Chancellor, President, and Scholars of King’s College, shall be deemed and
taken in all Courts of Law and Equity to have been made with and entered into by the University of
New Brunswick; and all tenants of the said Chancellor, President, and Scholars of King’s College,
shall be deemed and taken to be the tenants of the new Corporation; and all debts due by the said
Chancellor, President, and Scholars of King’s College, shall be paid and payable by the said new
Corporation; and the Graduates and Students of the late King’s College shall be deemed and taken
to be Graduates and Students of the said University of New Brunswick, and entitled to the rights
and privileges as such.

4. The Corporation shall consist of such and so many laymen not exceeding nine, as the
Governor in Council shall appoint, of whom the President of the University when appointed shall
be one; and three, including the President, shall be a quorum for the transaction of business; one
third of whom, not including the President, shall go out of office annually, in the order of their
appointment, but shall be eligible for re-appointment; and the Corporation shall be deemed
organized when any number not less than five shall be appointed as aforesaid.


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5. The Members of the Corporation shall constitute the Senate of the University, and if any
member of the Corporation shall refuse to act or shall neglect to attend the meetings thereof for
the space of twelve months, his place shall be vacated and another person appointed in his stead.

6. The Lieutenant Governor of the Province shall be the Visitor of the University on behalf of Her
Majesty, and such visitatorial powers may be exercised by Commission under the Great Seal of the
Province; and when such powers are so exercised by Commission, the person appointed in the
exercise thereof shall be a layman, and appointed by and with the consent of the Executive
Council.

7. There shall be no Professorship of Theology in the University, nor shall any religious teste
whatever be required of or imposed upon any member of the Corporation, Professor, Teacher,
Student, or other person in any way connected with the University, or with the Collegiate School.

8. The Senate shall possess and exercise all the powers necessary for the management and
government of the University, and for carrying into effect all laws relating thereto; particularly it
shall be the duty of the Senate, and they shall have full power and authority—

1st. By notice in writing, signed by any two of their number, to call a meeting of the Corporation:

2nd. To elect a Chairman in the absence of the President, and to appoint the times of meeting and
modes of proceeding:

3rd. To possess and direct the endowment of King’s College, to order the sale and leasing of all
lands belonging to the said College and the investment and expenditure of all moneys arising
therefrom, and of all money which have heretofore been granted to King’s College and the
Collegiate School at Fredericton, or which may hereafter be granted to the University of New
Brunswick or the Collegiate School at Fredericton, and to erect such Lecture Halls, School Houses,
and other buildings as they may deem necessary, subject to the approval of the Governor in
Council:

4th. To make and alter from time to time, subject to the approval of the Governor in Council, any
Statutes, Rules and Ordinances which may be necessary for the government and discipline of the
University and the Collegiate School, and for the establishment and regulation of Scholarships,
Prizes, and Exhibitions; provided that all the Statutes, Rules and Ordinances now in force,
according to law, in the said College and School, shall continue in force, except so far as they may
be inconsistent with the spirit and provisions of this Act, until repealed and altered by the Senate:

5th. To appoint and to remove from time to time, subject to the approval of the Governor in
Council, the Professors, Tutors, Lecturers, and Instructors, and all other Officers and Servants of
the University, and the Masters, Teachers, and Servants of the Collegiate School, and to prescribe
their duties, and fix their remuneration; provided that all appointments in King’s College and
School shall remain until revoked or altered under the provisions of this Act:


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6th. To confer Degrees in Arts, Law, and Medicine, to-wit: The several Degrees of Bachelor of Arts,
Master of Arts, Bachelor of Science, Bachelor of Laws, Doctor of Laws, Bachelor of Medicine, and
Doctor of Medicine, and Diplomas in Civil Engineering and Land Surveying, Agriculture, Commerce,
and Navigation, and such honorary degrees and certificates of honor, merit, and attendance at
Lectures, as the Senate may adjudge expedient and proper.

9. It shall be the duty of the President of the University—

1st. To see that all the Statutes, Rules and Ordinances relating to the University and Collegiate
School are duly enforced, and to rectify any deviation therefrom; and at all times to exercise a
parental care and supervision over the Students:

2nd. To see that comfortable board and lodging are provided for such Students as may require the
same:

3rd. To preside at all meetings of the Senate when present, and to call a special meeting at such
time as he may think necessary, by giving due notice thereof to each member of the Senate:

4th. To visit from time to time the Classes and other University departments, and to give such
directions and perform such acts generally, as shall in his judgment be necessary for the interest of
the University, so that they do not contravene this Act, nor the Statutes, Rules, Ordinances, nor the
decisions of the Senate:

5th. To preside at all examinations, and at all meetings of the Senate, when practicable, and to sign
all Diplomas for Degrees, and other Diplomas and certificates of honor:

6th. To report to the Senate, as occasion may require, concerning the state and discipline of the
University, and to prepare and lay before the Senate for consideration, such regulations touching
the discipline and government of the University and Collegiate School, as he may deem advisable
for their future prosperity:

7th. To grant to the Students leave of absence from the University for reasonable cause, and for
such length of time as he shall judge the occasion may require:

8th. To have charge of the buildings and grounds of the University and Collegiate School, and to
see that they are kept in good order and repair:

9th. To prepare a full and particular report annually of the Educational state of the University and
School, according to such form as may be prescribed by the Senate.

10. The senior Professor, in the absence of President, shall have the same authority to command
obedience, and to enforce the discipline of the University, as the President.



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11. There shall be a University Board, to consist of the President and Professors, which shall have
power to try offences committed by the Students, to determine the relative standing of Students,
and to adjudge rewards and punishments; and the concurrence of the President shall be
necessary to every act of the Board.

12. In the absence of the President, the senior Professor present shall preside at the meeting of
the Board, and no acts of the Board thus constituted shall be valid, until approved of by the
President.

13. The Board shall meet at least once in every week during Term, in the University Library, for
the purpose of administering the general discipline of the University; and at such stated meetings
the Professors shall report respecting the conduct and proficiency of the Students, noting
particularly those who have been delinquents in their behaviour or attendance, or deficient or
negligent in their preparation or duties.

14. The Board shall keep a Book of Minutes of their proceedings, and there shall be noted therein
at every meeting, the names of members present or absent; and such Book shall be laid before
the Senate at all general or special meetings.

15. Every candidate for matriculation is required to produce at the time of his examination, a
written statement from his parents or guardians, or other person having charge of his education,
setting forth the name of some Minister of Religion in or near Fredericton, under whose religious
instruction he is to be placed; and in order to the keeping and allowance of any Term, every
Student must produce a certificate from his religious instructor, for the time being, that he has
regularly attended Divine Service on Sundays during such Term, unless prevented by unavoidable
circumstances.

16. Portions of the Holy Scriptures shall be read by the President, or one of the Professors, daily in
the University, and Morning and Evening Prayers offered according to the form prescribed by the
Senate, and at such times as shall be appointed for that purpose; and all resident Students shall be
required to attend such Scripture readings and Prayers, except those whose parents or guardians,
or other person having charge of his or their education, may have signified to the contrary in
writing to the President.

17. In order to extend the benefits of establishments already instituted, or which may be
hereafter instituted in this Province, for the promotion of the study of Literature, Science, Art, Law,
or Medicine, whether incorporated or not, by connecting them for such purpose with the
University, all persons shall be admitted as candidates for the respective degrees and diplomas
mentioned in the sixth part of the eighth Section of this Act, to be conferred by the University, on
satisfying the members of the Senate, by proper certificates, that such persons have in any of the
said Institutions gone through such course of instructions as the Senate shall from time to time
determine, or as may be prescribed by this Act; and the Institutions in which such course of
instruction may be completed, shall be such Institutions as now are or shall hereafter be


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established for the promotion of Education within this Province, which the Lieutenant Governor in
Council shall from time to time designate to the Senate.

18. Any person may, on application to the President, and on payment of the fees required, and
observance of the regulations prescribed, be admitted to attend any one or more courses of
Lectures in the University, and receive certificates accordingly.

19. There shall be admitted into the general undergraduate course in the University, free of all
charges of fees for education, the following number of Students from each and every County in
the Province, upon their respectively passing the required examinations, and upon producing
satisfactory testimonials that they are well deserving of such gratuitous instruction:—

County of Saint John, (without the City,)                   4
City of Saint John,                                         6
County of King's,                                           4
County of Westmoreland,                                     4
County of Northumberland,                                   4
County of Charlotte,                                        4
County of York, (without the City of Fredericton,)          3
City of Fredericton,                                        3
County of Carleton,                                         3
County of Victoria,                                         3
County of Sunbury,                                          3
County of Queen's,                                          3
County of Albert,                                           3
County of Kent,                                             3
County of Gloucester,                                       3
County of Restigouche,                                      3

And should more than the number limited to each County or City apply for admission at one time
under this Section, those who pass the most satisfactory examination shall be preferred.

20. Any person, or body politic or corporate, may found such and so many Professorships,
Lectureships, Scholarships, exhibitions, prizes, or other rewards in the University, not inconsistent
with the spirit and provisions of this Act, as they may think proper, by providing a sufficient
endowment therefor in land or other property.

21. The programme of the courses of instruction contained in the Schedule to this Act shall be
provided for and pursued in the University until altered by the Senate.

22. All Students not residing in the University, and all Scholars of the Collegiate School, will be
required to board with their parents, or with persons approved of by them, or by their guardian or
other persons having charge of their education, or by the President.


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23. Scholars of the Collegiate School may receive free tickets to attend such course of Lectures at
the University as they may select, after not less than three months attendance at the School, and
upon a certificate from the Head Master setting forth that from their studious habits and general
good conduct they are deserving of such privilege.

24. There shall be two Scholarships in the Collegiate School of £15 each; one for the Classical, and
one for the English Department, to be competed for annually during the first week after
midsummer vacation; the names of Candidates to be lodged with the Head Master on the first day
of Term; the examination to be public, and to be conducted by persons to be named for that
purpose by the Senate; provided always, that no Student shall hold two Scholarships at one time.

25. There shall be in the University one Scholarship of £15, either in the general or the special
undergraduate course, for each County Grammar School in the Province, and for the Collegiate
School, to be open to competition under such regulations, and held for such time as the Senate
shall prescribe; and the holders of such Scholarships shall be exempt from all fees for instruction in
the University.

26. There shall be laid before the House of Assembly within fourteen days after the opening of
each annual Session, a full and detailed Account of the Income and Expenditure of the University
for the previous year; and also a full and particular Report of the educational state of the
University, shewing the number of Students in attendance, distinguishing the gratuitous, if any,
the number of Scholarships held, and the number of Degrees or Diplomas conferred or granted.

27. This Act shall not come into operation or be in force, until Her Majesty’s Royal approbation be
thereunto bad and declared.

                                            SCHEDULE.
                                         FACULTY OF ARTS.

1. Candidates for matriculation in the general Undergraduate Course shall pass a satisfactory
examination in the following subjects:—Greek and Latin Languages, Arithmetic, Mathematics,
English Grammar and Composition, Ancient and Modern History, and Geography.

2. Candidates for matriculation in the special Undergraduate Course, shall pass a satisfactory
examination in all the foregoing subjects, omitting the Greek and Latin.

                          I. GENERAL UNDERGRADUATE COURSE OF STUDY
The Undergraduate Course for the Degree of A. B. shall occupy at least four Terms, at. the end of
which time Students may be admitted to examination for the Degree of A. B. on producing
Certificates, signed by the Head of their College, that they have pursued in the University, or in
some other affiliated Institution of the University, the following course of study:—The Greek and
Latin Languages, the English Language, Modern Languages, Mathematics, Chemistry, Zoology,
Botany, Mineralogy, Physical Geography and Geology, Astronomy, Natural Philosophy, English
Literature and History, Logic and Mental Philosophy, Ethics, Civil Polity and Elocution.

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Candidates who have obtained the Degree of A. B., may obtain the Degree of A. M. on passing a
satisfactory examination in the higher Mathematics, and the Greek and Latin Languages.

                         II. SPECIAL UNDERGRADUATE COURSE OF STUDY.

                              1. Course of Civil Engineering and Surveying.
The Undergraduate Course of Civil Engineering and Surveying shall occupy at least three Terms, at
the end of which time Students may be admitted to examination for a Diploma, on producing a
Certificate signed by the Head of their College, that they have pursued in the University, or in some
other affiliated Institution of the University, the following course of study:—The English Language,
Mathematics, General Physics, Chemistry, Practical Mechanics, Physical Geography and History,
Mineralogy, Geology, Civil Engineering including the principles of Architecture.

                                         2. Agricultural Course.
The Undergraduate Course of study in Agriculture shall occupy at least three Terms, at the end of
which Students may be admitted to examination for a Diploma, on producing a Certificate signed
by the Head of their College, that they have pursued in the University, or in some other affiliated
Institution of the University, the following Course of Study:—English Language, Arithmetic and
Book Keeping, Chemistry, Elements of Natural Philosophy, Zoology and Botany, Theory of
Agriculture, Physical Geography and History, Mineralogy and Geology, Surveying and Mapping,
History and Diseases of Farm Animals, Practice of Agriculture.

                                 3. Course of Commerce and Navigation.
The Undergraduate Course of Commerce and Navigation shall occupy at least three Terms, at the
end of which Students may be admitted to examination for a Diploma, on producing a Certificate
signed by the Head of their College, that they have pursued in the University, or in some other
affiliated Institution thereof, the following course of study:—English and other modern Languages,
Arithmetic and Book Keeping, Chemistry and Mathematics, Physical Geography, Astronomy and
History, Laws of Nations and Commercial Law, Natural Philosophy, and Navigation.

Scholarships in addition to those specified in the Act.

English Language and Literature,
Classics, Mathematics, Civil Engineering,                 One Scholarship in each branch, of £15.
Agriculture, Commerce, and
Navigation,

[This Act was specially confirmed, ratified, and finally enacted, by an Order of Her Majesty in
Council dated the twenty third day of January 1860, and published and declared in this Province the
seventh day of March 1860.]




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